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     1               IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
     2                         EASTERN DIVISION
     3    IN RE NATIONAL PRESCRIPTION |    MDL No. 2804
                                       |
     4    OPIATE LITIGATION            |   Case No. 17-MD-2804
                                       |
     5    This Document Relates to:    |   Judge Dan Aaron Polster
                                       |
     6    The County of Summit, Ohio, |
          et al., v.                   |
     7    Purdue Pharma L.P., et al.   |
          Case No. 17-op-45004         |
     8                                 |
          The County of Cuyahoga v.    |
     9    Purdue Pharma L.P., et al.   |
          Case No. 18-op-45090         |
    10                                 |
          City of Cleveland, Ohio v.   |
    11    Purdue Pharma L.P., et al.   |
          Case No. 18-op-45132         |
    12                                 |
    13
                              TUESDAY, JANUARY 22, 2019
    14
                                           - - -
    15
                     HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    16
                                 CONFIDENTIALITY REVIEW
    17
                                           - - -
    18
                     Videotaped deposition of EMILY HALL, held at
    19          Foley & Lardner LLP, One Biscayne Tower, 2
                Biscayne Boulevard, Suite 1900, Miami, Florida,
    20          commencing at 9:15 a.m., on the above date,
                before Kelly J. Lawton, Registered Professional
    21          Reporter, Licensed Court Reporter, Certified
                Court Reporter.
    22                               - - -
    23                    GOLKOW LITIGATION SERVICES
                      877.370.3377 ph | 917.591.5672 fax
    24                          deps@golkow.com

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     1          A.    So a limit is what a customer is granted,

     2     right?    This is your limit.        You can't go over this

     3     limit when we talked about 1,000-unit family limit.

     4                This is an algorithm.         So if they place an

     5     order within that 1,000 family unit, let's say one

     6     piece of something, and it gets flagged based on this

     7     algorithm, any of these steps, that is now considered

     8     a suspicious order in the bucket.           Bucket.

     9          Q.    And then that bucket would be referred to the

    10     DEA?    If a customer's order got put in the bucket,

    11     that bucket is being sent to the DEA, or is it being

    12     sent somewhere else?

    13          A.    No.    This is an internal bucket to review

    14     suspicious orders.

    15          Q.    So a customer would have to order more than

    16     eight times its average in order for that order to be

    17     held?

    18          A.    No.    So you take the whole -- the whole

    19     line -- you take the DEA quantity for that month.                So

    20     everything they did for that month, times it by the

    21     six-month -- I mean, excuse me, divide it by the

    22     six-month time frame, and then you multiply that by

    23     the multiplier.

    24          Q.    So would it be possible for -- so if

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     1     somebody -- if somebody ordered past their limit --

     2     let's say their limit is 5,000 units.             If a customer

     3     tried to order 6,000 units, is that a suspicious

     4     order?

     5          A.    A customer cannot order past their limit.

     6          Q.    Okay.    And if they attempt to order past

     7     their limit, what happens then?

     8          A.    They can't.

     9          Q.    Does that ever get reported in any system?

    10          A.    No.

    11          Q.    Does that order ever get referred to the DEA

    12     as suspicious?

    13          A.    Not that I'm aware of.

    14          Q.    What is the purpose of the control limit?

    15          A.    It's a comfort level for us to give them a

    16     specific quantity for a family based on when we set

    17     them up and we did the review on them.

    18          Q.    Is the control limit mechanism in which Anda

    19     can avoid shipping suspicious orders?

    20                MS. KOSKI:      Object to form.

    21                THE WITNESS:      Can you please clarify?

    22     BY MR. STOLTZ:

    23          Q.    Is the control limit purpose to avoid

    24     shipping suspicious orders to customers?

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